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                     UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF WEST VIRGINIA
                             AT CHARLESTON



UNITED STATES OF AMERICA

v.                                   CRIMINAL ACTION NO. 2:05-00242-02

BRANDON E. PISTORE


         SUPERVISED RELEASE REVOCATION AND JUDGMENT ORDER
                   MEMORANDUM OPINION AND ORDER


           On March 12, 2013, the United States of America

appeared by Meredith George Thomas, Assistant United States

Attorney, and the defendant, Brandon E. Pistore, appeared in

person and by his counsel, Lex A. Coleman, Assistant Federal

Public Defender, for a hearing on the petition on supervised

release and amendment thereto submitted by United States

Probation Officer Mildred L. DeVore, the defendant having

commenced a fifty-four month term of supervised release in this

action on July 15, 2011, as more fully set forth in the

Supervised Release Revocation and Judgment Order entered by the

court on May 23, 2011.


           The court heard the admissions of the defendant and

the representations and argument of counsel.
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           For reasons noted on the record of this proceeding,

which are ORDERED incorporated herein by reference, the court

found that the defendant has violated the conditions of

supervised release in the following respects:            (1) that the

defendant used and possessed controlled substances as evidenced

by positive urine specimens submitted by him on August 13, 2012,

for amphetameine and methamphetamine; on August 27, 2012, for

methamphetamine; on October 18, 2012, for amphetamine and

methamphetamine; on October 25, 2012, test-cup results were

positive for amphetamine and methamphetamine, the defendant

having signed a voluntary admission form confirming his use of

the drugs; and on November 1 and 16, 2012, for amphetamine and

methamphetamine; (2) that the defendant failed to report for

drug testing on September 14, 17 and 26; October 26; November 9

and 14; and December 12, 13, 19 and 27, 2012; (3) that the

defendant failed to make monthly restitution payments as

directed by the court; (4) that the defendant failed to obtain

lawful employment since his release from Transitions, Inc. on

August 9, 2012; (5) that the defendant failed to report to the

probation officer that he was questioned by a law enforcement

officer on December 4, 2012; (6) that the defendant failed to
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report for individual drug counseling as directed on August 13;

September 7, 13 and 20; and November 27, 2012; (7) that the

defendant failed to participate in group therapy as directed on

September 15, 22, 27 and 29; October 20 and 27; November 10; and

December 1, 15 and 20, 2012; and (8) that the defendant

committed a federal and state crime for which he was arrested on

December 20, 2012, and charged with felony acquisition and

possession of substances to be used as a precursor to

manufacture methamphetamine, which charges remain pending in

Kanawha County Magistrate Court; all as admitted by the

defendant on the record of the hearing and as set forth in the

petition on supervised release.


           And the court finding, as more fully set forth on the

record of the hearing, that the violations warrant revocation of

supervised release and, further, that it would unduly depreciate

the seriousness of the violations if supervised release were not

revoked, it is ORDERED that the supervised release previously

imposed upon the defendant in this action be, and it hereby is,

revoked.


           And the court having complied with the requirements of

Rule 32(a)(1)(B) and (C) of the Federal Rules of Criminal
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Procedure, and finding, on the basis of the original offense,

the intervening conduct of the defendant and after considering

the factors set forth in 18 U.S.C. § 3583(e), that the defendant

is in need of correctional treatment which can most effectively

be provided if he is confined, it is accordingly ORDERED that

the defendant be, and he hereby is, committed to the custody of

the United States Bureau of Prisons for imprisonment for a

period of ONE YEAR AND ONE DAY, to be followed by a term of

three (3) years of supervised release upon the standard

conditions of supervised release now in effect in this district

by order entered June 22, 2007, and the further condition that

the defendant not commit another federal, state or local crime

and the special condition that he engage in continuing drug

abuse counseling and treatment as directed by the probation

officer and engage in full-time lawful, gainful employment.                The

court reimposed restitution in the amount of $3,867.89 which

shall be paid as directed heretofore.


           The defendant was remanded to the custody of the

United States Marshal.
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           Recommendation:     The court recommends that the

defendant be designated to an institution as close to Elkins,

West Virginia, as feasible.


           The Clerk is directed to forward copies of this

written opinion and order to the defendant, all counsel of

record, the United States Probation Department, and the United

States Marshal.


                                         DATED:       March 21, 2013


                                         John T. Copenhaver, Jr.
                                         United States District Judge
